              Case 1:06-cr-00269-DAD Document 94 Filed 06/19/14 Page 1 of 2
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3                                  UNITED STATES DISTRICT COURT

4                           FOR THE EASTERN DISTRICT OF CALIFORNIA

5
     UNITED STATES OF AMERICA,                            1:06-CR-00269-LJO -1
6
                             Plaintiff,                   MEMORANDUM DECISION AND
7
                                                          ORDER RE DEFENDANT’S REQUEST
                       v.                                 TO WITHDRAW HIS GUILTY PLEA
8
                                                          (DOC. 93).
     MANUEL BURCIAGA,
9
                             Defendant.
10

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12          On August 10, 2006, Defendant Manuel Burciaga was indicted on five drug trafficking charges:

13 possession with intent to distribute methamphetamine; conspiracy to distribute methamphetamine;

14 possession of firearms in furtherance of drug trafficking; conspiracy to possess firearms in furtherance

15 of drug trafficking; and being a felon in possession of a firearm. See Docs. 1 & 65. On or about February

16 28, 2008, Defendant entered into a plea agreement, pursuant to which he agreed to plead guilty to two

17 charges: conspiracy to distribute and possession with intent to distribute methamphetamine. Doc. 65 at

18 3. Defendant also agreed to waive his appeal rights, including his right to contest his plea, conviction or

19 sentence in any post-conviction proceeding, including under 28 U.S.C. § 2255. Id. at 3-4. The Court

20 accepted Defendant’s plea on March 3, 2008. Doc. 66. On May 20, 2008, Defendant was sentenced to a

21 144 month term of imprisonment on the two counts to which he plead guilty. Doc. 68.

22          On June 9, 2014, the Court received a letter from Defendant dated “Month June, Day Three,

23 Year 2014” and entitled “Notice of Rescission,” in which Defendant states:

24                 I Manuel Lorenzo Burciaga (agent) acting upon behalf of MANUEL
                   BURCIAGA (ens legis) hereby give you NOTICE that as a result of
25                 MISTAKE I rescind any/all contract(s), agreement(s) and plea(s) entered
                   into with you, your office, agent(s), agency(s), department(s) or any
26                 instrumentality thereof in regard to CASE NO. 1:06CR00269-001 and/or
                                                         1
               Case 1:06-cr-00269-DAD Document 94 Filed 06/19/14 Page 2 of 2
1                  CASE No. 1:06-cr-00269-LJO-1 and/or any other combination of numbers
                   and or letters that may refer to this CASE.
2
     Doc. 93. As the Federal Rules of Criminal Procedure do not provide for the filing of a “notice of
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     rescission,” the Court will treat this request as a motion to withdraw his guilty plea, which is governed
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     by Fed. R. Crim. P. 11.
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            Fed. R. Crim. P. 11(e) prohibits the withdrawal of a guilty plea after the court imposes sentence:
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                    Finality of a Guilty or Nolo Contendere Plea. After the court imposes
7                   sentence, the defendant may not withdraw a plea of guilty or nolo
                    contendere, and the plea may be set aside only on direct appeal or
8                   collateral attack.

9    Accordingly, Defendant’s letter, construed as a motion to withdraw his guilty plea, is DENIED.

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11 IT IS SO ORDERED.

12      Dated:     June 19, 2014                             /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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